               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAORLINA
                        ASHEVILLE DIVISION
                       CASE NUMBER 1:20CV66

JANE ROE,                                    )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )
                                             )
UNITED STATES OF AMERICA, et al.,            )
                                             )
      Defendants.                            )


      DEFENDANTS’ JOINT MOTION FOR EXTENSION OF TIME
                   TO FILE REPLY BRIEFS

      On behalf of Defendants United States of America, Judicial Conference of the

United States, Administrative Office of the United States Courts, United States

Court of Appeals for the Fourth Circuit, Judicial Council of the Fourth Circuit,

Federal Public Defenders’ Office, Roslynn R. Mauskopf, Chief Judge of the United

States District Court for the Eastern District of New York, and Chair of the Judicial

Conference Committee on Judicial Resources, and James C. Duff, Director of the

Administrative Office of the United States Courts, in their official capacities,

General Counsel Sheryl L. Walter, Chief Judge Roger L. Gregory, United States

Court of Appeals for Fourth Circuit, Circuit Executive James N. Ishida, United

States Court of Appeals for Fourth Circuit, and Federal Public Defender Anthony

Martinez, Western District of North Carolina, in their individual and official


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capacities, (collectively, “Defendants”), the undersigned counsel hereby move the

Court for an extension of time of seven days to file their reply briefs in support of

Defendants’ motions to dismiss, to and including July 17, 2020. In support of this

Motion, the following is provided:

          1.   In response to Defendants’ motions to dismiss, Plaintiff sought and the

Court granted, with the consent of Defendants, Plaintiff an eleven-day extension as

to some Defendants and a fourteen-day extension as to other Defendants, to respond

to Defendants’ motions.

          2.   On July 3, 2020, Plaintiff filed her oppositions to Defendants’ motions

to dismiss.

          3.   Under Local Rule 7.1(e), Defendants have seven days to file their reply

briefs.

          4.   Counsel for Defendants need additional time to respond to the various

arguments addressed in Plaintiff’s oppositions, to coordinate their reply briefs with

numerous defendants (including multiple individual-capacity defendants), and clear

three DOJ branches prior to filing. Specifically, the Plaintiff sued eleven defendants,

including Chief Judge Roger L. Gregory of the United States Court of Appeals for

the Fourth Circuit, Chief Judge Roslynn R. Mauskopf of the United States District

Court for the Eastern District of New York and Chair of the Judicial Conference

Committee on Judicial Resources, Circuit Executive James N. Ishida of the United


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States Court of Appeals for the Fourth Circuit, James C. Duff, Director of the

Administrative Office of United States Courts, Sheryl L. Walter, General Counsel

for the Administrative Office of United States Courts, and Anthony Martinez,

Federal Public Defender for the Western District of North Carolina, and drafting,

circulating, and finalizing the reply briefs will require their input and concurrence.

Additionally, the reply briefs (except for the Federal Public Defender) will require

review by Constitutional and Specialized Torts Branch, Federal Programs Branch,

and the Appellate Division of the United States Department of Justice.

        5.   Additional time is needed in light of the global COVID-19 pandemic,

which will likely complicate the review process.

        6.   For all of these reasons, the undersigned hereby move the Court for a

seven-day extension of time to file their reply briefs until and including July 17,

2020.

        7.   Pursuant to Local Civil Rule 7.1(b)(2), the undersigned have consulted

with Plaintiff’s Counsel. Plaintiff’s Counsel consents to the extension of time.

        WHEREFORE the undersigned hereby move the Court for an extension of

time for Defendants to file their reply briefs from July 10, 2020 until and including

July 17, 2020.




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      This the 6th day of July, 2020.

                                        Respectfully submitted,

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Anthony Martinez in their official capacities, and General Counsel Sheryl L. Walter,

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Chief Judge Roger L. Gregory, James N. Ishida, in their individual and official
capacities.



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